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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 ----------------------------------------------------------------------X   Index No: 24-3931
 CRYSTAL MCKINNEY,

                                  Plaintiff,                               COMPLAINT

                  - against -
                                                                           PLAINTIFF DEMANDS
 SEAN COMBS a/k/a “P. DIDDY,” BAD BOY                                      A TRIAL BY JURY
 ENTERTAINMENT LLC d/b/a BAD BOY
 RECORDS, BAD BOY ENTERTAINMENT
 HOLDINGS, INC., SEAN JOHN CLOTHING LLC,
 and UNIVERSAL MUSIC ENTERTAINMENT
 GROUP, INC.



                                   Defendants.
 ----------------------------------------------------------------------X

        Plaintiff CRYSTAL MCKINNEY (“Plaintiff”), by and through her attorneys, PHILLIPS

& ASSOCIATES, PLLC, hereby alleges and avers of the Defendants SEAN COMBS a/k/a “P.

DIDDY,” BAD BOY ENTERTAINMENT LLC d/b/a BAD BOY RECORDS, BAD BOY

ENTERTAINMENT HOLDINGS, INC, (collectively Bad Boy Entertainment LLC and Bad Boy

Entertainment Holdings, Inc. are referred to as “Defendants Bad Boy Records”), SEAN JOHN

CLOTHING LLC, and UNIVERSAL MUSIC ENTERTAINMENT GROUP, INC. (collectively

referred to as “Defendants”), alleges upon information and belief as to all other matters as follows.

                                      NATURE OF THE ACTION

1.      Plaintiff brings suit against Defendants pursuant to the NYC Gender Motivated Violence

        Act, N.Y.C. Admin. Code §§ 8-901 et. seq, to redress the substantial and lifetime injuries

        she has suffered as a result of being drugged and sexually assaulted by Sean Combs or “P.

        Diddy.”

                                               JURISDICTION

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2.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 insofar as there

      is complete diversity between the parties and the amount in controversy exceeds

      $75,000.00.

3.    Plaintiff is a citizen of the State of Georgia.

4.    Defendant Combs is a citizen of the State of California.

5.    Bad Boy Entertainment Holdings, Inc. is a domestic business corporation licensed to do

      business in New York and is headquartered at 1440 Broadway, 3rd Floor, New York,

      New York 10018.

6.    Bad Boy Entertainment LLC. is a domestic limited liability company licensed to do

      business in New York and is headquartered at 1440 Broadway, 3rd Floor, New York,

      New York 10018.

7.    Sean John Clothing LLC is a domestic liability company licensed to business in New

      York and is headquartered at 1440 Broadway, New York, NY 10018.

8.    Universal Music Group Inc. is a foreign business corporation licensed to do business in

      New York, and is headquartered at 22200 Colorado Avenue in Santa Monica, CA 90404.

9.    Venue is proper in the Southern District of New York because a substantial part of the

      events giving rise to the claim, including but not limited to, Defendant Combs’ assault of

      Plaintiff, occurred in this District.

                             PROCEDURAL REQUIREMENTS

 THE N.Y.C. VICTIMS OF GENDER MOTIVATED VIOLENCE PROTECTION ACT

10.   The N.Y.C. Victims of Gender Motivated Violence Protection Act (“NYC Gender

      Motivated Violence Act”) created a lookback window on March 01, 2023, which runs for

      two years, for survivors of gender motivated violence, allowing them to sue their abusers



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      regardless of when the abuse occurred. N.Y.C. Admin. Code § 10-1105(a).

11.   The NYC Gender Motivated Violence Act revives any claims against “a party who

      commits, directs, enables, participates in, or conspires in the commission of a crime of

      violence motivated by gender has a cause of action against such party in any court of

      competent jurisdiction.” N.Y.C. Admin. Code § 10-1104.

12.   The Appellate Division has held that sexual assault is an act of gender-motivated violence

      under the law as “Coerced sexual activity is dehumanizing and fear-inducing. Malice or ill

      will based on gender is apparent from the alleged commission of the act itself. Animus

      inheres where consent is absent.” Breest v. Haggis, 180 A.D.3d 83, 94 (App. Div. 2019).

13.   The above-described conduct of Defendant Combs, including, but not limited to,

      Defendant Combs’s sexual assault of Plaintiff in New York City, constitutes a “crime of

      violence” and a “crime of violence motivated by gender” against Plaintiff as defined by the

      NYC Gender Motivated Violence Act.

                                          PARTIES

                                   DEFENDANT COMBS

14.   P. Diddy a.k.a. Puff Daddy or Diddy is a Grammy-awarded musician, rapper and

      producer.

15.   In 1992, P. Diddy founded Defendants Bad Boy Records.

16.   In 2008, P. Diddy was the first male rapper to get a star on the Hollywood Walk of Fame.

17.   In 2022, Forbes estimated that P. Diddy is one of the wealthiest hip-hop artists in

      America and that his net worth is over $1 billion.




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18.   Upon information and belief, P. Diddy has a long history of committing physical and

      sexual violence against women and men as documented in publicly available lawsuits and

      extensive media coverage.

19.   On November 16, 2023, Cassie Venture, an artist signed onto Bad Boy Records, filed a

      suit in the United States District Court of the Southern District of New York alleging that

      Combs provided her with copious amounts of drugs, before sexually assaulting her.

20.   On November 23, 2023, Joi Dickerson-Neal, filed suit in the Supreme Court of New

      York, New York County, alleging that Combs drugged her, sexually assaulted her, and

      filmed a “revenge porn” tape of his assault.

21.   On November 23, 2023, Liza Gardener, filed suit in the Supreme Court of New York,

      New York County, alleging that Combs and Aaron Hall sexually assaulted her when she

      was a minor.

22.   On December 06, 2023, a Jane Doe, filed suit in the United States District Court of the

      Southern District of New York alleging that when she was a minor, she was gang raped

      by Combs, Harve Pierre, and a third unnamed assailant.

23.   On February 26, 2024, Rodney Jones, filed suit in the United States District Court of the

      Southern District of New York alleging that Combs sexually assaulted him and provided

      laced alcoholic beverages to minors.

                          DEFENDANTS BAD BOY RECORDS

24.   In 1992, Combs founded Bad Boy Records, a record label which has sold over 500

      million records, and where he produced records by Mary Blige, The Notorious B.I.G.,

      and Usher.

                     DEFENDANT UNIVERSAL MUSIC GROUP, INC.



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25.   On February 06, 2003, Combs signed a distribution deal with Universal Records (now

      Universal Music Group) for Defendants Bad Boy Records.

26.   From 2003 to 2005 and 2009 to present, Universal Music Group has and continued to

      distribute Bad Boy Records’ catalog.

                                   SEAN JOHN CLOTHING LLC

27.   In 1998, Combs founded Sean John, which has retail sales of over $450 million.

28.   As CEO and president of the company, Defendant Combs was representing Sean John

      when he attended the Men’s Fashion Week dinner where he met Plaintiff.

                                 FACTUAL ALLEGATIONS

Plaintiff Begins Her Modeling Career

29.   At the age of seventeen, Plaintiff won MTV’s inaugural Model Mission on December 05,

      1998, a televised modeling competition akin to Miss America, and was awarded a

      modeling contract with IMG.

30.   Shortly thereafter, Plaintiff’s career took off.

31.   Plaintiff modeled for a Tommy Hilfinger jeans campaign.

32.   Plaintiff was also featured in Macy’s catalogs, Elle, Cosmopolitan and Mademoiselle

      magazines.

33.   Plaintiff also made appearances in television and film program such as MTV’s Total

      Request Live (“TRL”), Fashionably Loud, True Life, and a movie with Joan Rivers.

34.   Furthermore, Plaintiff had international modeling gigs in Germany and Australia.

A Fashion Designer Invites Plaintiff To Men’s Fashion Week to Meet Combs

35.   In 2003, when Plaintiff was twenty-two years old, a fashion designer (“the Designer”)

      invited Plaintiff to attend a Men’s Fashion Week event held at Cipriani Downtown,



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      located at 376 W. Broadway, New York, NY 10012.

36.   At the time, Plaintiff was engaged in modeling gigs in Miami, Florida and flew to New

      York for the event.

37.   The Designer told Plaintiff that he would be introducing her to Combs which could

      advance her modeling career.

38.   The Designer began to direct Plaintiff’s appearance, as he sought to ensure Combs found

      her attractive.

39.   For instance, the Designer instructed Plaintiff to go to Elizabeth Arden to get a root touch

      up to ensure it was platinum blonde.

40.   The Designer also scheduled a stylist to put in hair extensions for Plaintiff.

41.   The Designer then handpicked a black leather coat with a fur hood, a translucent chiffon

      beige v-cut shirt, fur-lined handbag, and jewel encrusted jeans for Plaintiff to wear to the

      event.

42.   Due to the traumatic events to occur later, Plaintiff saved the unwashed clothing from

      that night in her closet where they remain in a plastic wrap.

Combs Makes Promises of Career Advancement

43.   Soon thereafter, Plaintiff took a car to Cipriani Downtown, where the Designer was

      dining with Combs and other guests.

44.   Plaintiff felt little control over the events as she was directed what to do and put on

      display, for the others in attendance.

45.   For instance, Plaintiff sat down at an empty seat next to the Designer, but he insisted that

      she sit down directly across from Combs instead.

46.   Once seated, Combs made a very public display of coming on to Plaintiff in a sexually



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      suggestive manner which continued throughout the dinner.

47.   For others to hear, Combs bestowed compliments on Plaintiff by stating for example that

      she was beautiful and that her eyes were gorgeous.

48.   Later, and at a more intimate volume, Combs told Plaintiff “was going to make it big one

      day” as a model.

49.   Combs went on to tell Plaintiff that he had power in the industry and was going to help

      her advance her career.

50.   Combs provided Plaintiff with his phone number as a gesture of good faith in his

      promises to help her.

51.   Throughout their interactions, Combs was flirtatious, bordering on leering, as he leaned

      across the table towards her.

52.   Combs also plied Plaintiff with alcohol throughout the dinner as he repeatedly refilled her

      glass with wine.

53.   After the meal ended, Combs told Plaintiff that he wanted to get to know her better.

54.   Combs asked Plaintiff to call him a bit later.

55.   Plaintiff felt confused but hopeful that Combs would fulfill his promises to help her

      career.

Plaintiff Meets Combs At His Studio Where He Drugs and Sexually Assaults Her

56.   Later that night, Combs requested Plaintiff come see his studio located at 321 W. 44th

      Street, New York, NY 10036.

57.   Plaintiff felt reassured that she would be with others at the studio rather alone in a

      personal residence.

58.   When Plaintiff arrived, she found that Combs and several other men seated together.



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59.   She found that they were passing around a bottle of Hennesy and joints.

60.   After Plaintiff sat down, one of Combs’ associates asked her: “Do you smoke weed?”, to

      which she responded affirmatively.

61.   Combs’ associate replied: “You’ve never had weed like this before.”

62.   Plaintiff later came to understand that Combs had laced the joint with a narcotic or other

      intoxicating substance.

63.   Combs passed her the joint and Plaintiff took a hit which felt very powerful.

64.   Although Plaintiff insisted that she had enough after that, Combs pressured her to imbibe

      more alcohol and marijuana by telling her that she was acting too uptight.

65.   Plaintiff felt as if she was floating.

66.   Seeing Plaintiff was very intoxicated, Combs demanded Plaintiff follow him and he

      physically led Plaintiff to the bathroom.

67.   In the bathroom, Combs forced himself on Plaintiff and began kissing her without her

      consent.

68.   Combs, then, shoved her head down to his crotch before commanding her to “suck it.”

69.   Plaintiff refused, but Combs pushed her head down onto his phallus and forced her to

      perform oral sex on him.

70.   As she was being assaulted, Plaintiff felt panicked and physically sick.

71.   Afterwards, Combs led Plaintiff back into the studio.

72.   Upon standing and walking, Plaintiff felt more and more woozy and then lost

      consciousness.

73.   Plaintiff awakened in shock to find herself in a taxicab heading back to the Designer’s

      apartment.



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74.   As her consciousness returned, Plaintiff realized that she had been sexually assaulted by

      Combs.

75.   Plaintiff felt humiliated and traumatized and without recourse.

Combs’ Asssault Has Caused Plaintiff Lifelong Harm

76.   Following the assault, Plaintiff’s modeling opportunities quickly began to dwindle and

      then evaporated entirely.

77.   Upon information and belief, Combs had Plaintiff “blackballed” in the industry and

      utilized his significant influence to impede Plaintiff’s career growth.

78.   Plaintiff became severely depressed as she began to blame herself for the assault and for

      sabotaging her own career.

79.   The assault led Plaintiff into a tailspin of anxiety and depression.

80.   In or about 2004, Plaintiff attempted suicide and was hospitalized.

81.   Everywhere Plaintiff looked she was reminded of Combs’ assault, as Combs was an

      inescapable presence in music, television, and film.

82.   In the ensuing years, Plaintiff has also experienced alcohol and drug addiction, as she

      attempted to cope with the emotional trauma of being assaulted.

83.   Plaintiff has also experienced intimacy issues, as she struggles to maintain emotional and

      sexual relationships with men.

84.   Plaintiff was married from approximately 2006 to 2010, however, her marriage fell apart

      as she had a mental breakdown precipitated by memories of the assault.

85.   Combs’ assault has altered the trajectory of Plaintiff’s career, denying her a successful

      and lucrative career in the modeling and film industries.

86.   To this day, Plaintiff experiences bouts of depression, anxiety, body image issues,



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      feelings of worthlessness, and intimacy issues because of Combs’ assault.

87.   Plaintiff is a woman of faith and when she saw news coverage of the lawsuits from Ms.

      Cassie Ventura, Ms. Dickerson-Neal, and others, she knew she had a moral obligation to

      speak up.

88.   Plaintiff prayed to G-d before bringing this lawsuit, as she feared further violence and/or

      retaliation from Defendant Combs, but ultimately decided that she needed to speak her

      truth.

89.    Plaintiff seeks justice for herself and for any of other Combs’ victims.

                                    CAUSE OF ACTION

                     AS A FIRST CAUSE OF ACTION
  THE NYC VICTIMS OF GENDER-MOTIVATED VIOLENCE PROTECTION ACT
                           (Against Defendants)

90.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

      paragraphs of this complaint as if more fully set forth herein at length.

91.   The NYC Gender Motivated Violence Act revives any claims against “a party who

      commits, directs, enables, participates in, or conspires in the commission of a crime of

      violence motivated by gender has a cause of action against such party in any court of

      competent jurisdiction.” N.Y.C. Admin. Code § 10-1104.

92.   The above-described conduct of Defendant Combs, including sexually assaulting or

      abusing Plaintiff at a music studio located in Manhattan. constitutes a “crime of violence”

      against Plaintiff and is a “crime of violence motivated by gender” as defined in N.Y. C.

      Admin Code § 10-1103.

93.   Defendant Combs’ crimes of violence were motivated by Plaintiff’s gender as defined in

      in the New York City Administrative Code § 8-903, as Defendant committed forcible sex

      acts upon Plaintiff that would constitute felonies under state law and as the conduct
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       presents a serious risk of physical injury, whether or not those acts have resulted in criminal

       charges, prosecution, or conviction.

94.    The Appellate Division has held that sexual assault is an act of gender-motivated violence

       under the law as “Coerced sexual activity is dehumanizing and fear-inducing. Malice or ill

       will based on gender is apparent from the alleged commission of the act itself. Animus

       inheres where consent is absent.” Breest v. Haggis, 180 A.D.3d 83, 94 (App. Div. 2019).

95.    The above-described conduct of Defendant Combs constitutes sexual offenses as defined

       in Article 130 of the New York Penal Law.

96.    Plaintiff is a woman, who is older than 18, who alleges misdemeanor and/or felony penal

       law violations, including but not limited to sexual misconduct (N.Y. Penal L. § 130.20),

       criminal sexual act in the first degree (N.Y. Penal L. § 130.50), criminal sexual act in the

       third degree ( N.Y. Penal L. § 130.40), forcible touching (N.Y. Penal L. § 130.52), sexual

       abuse in the first degree (N.Y. Penal L. § 130.65), and sexual abuse in the second degree

       ((N.Y. Penal L. § 130.60).

97.    Defendant Combs coerced Plaintiff to engage in sexual contact and/or sexual intercourse,

       despite the fact that he was rendered incapable of consenting due to intoxication.

98.    Defendant Combs gave Plaintiff several drinks throughout the night and a laced blunt, thus,

       he knew or should have known that Plaintiff was incapable of consenting to sexual contact

       and/or sexual conduct.

99.    Defendant’s actions presented a serious risk of physical injury to Plaintiff’s person,

       regardless of whether or not those acts resulted in criminal charges, prosecution or

       conviction.

100.   As a direct and proximate result of the aforementioned crime of violence and gender-



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       motivated violence, Plaintiff has sustained and will continue to sustain, monetary damages,

       physical injury, pain and suffering, and serious psychological and emotional distress,

       entitling him to an award of compensatory and punitive damages, injunctive and

       declaratory relief, attorneys fees and costs, and other remedies as this Court may deem

       appropriate damages, as set forth in § 10-1104.

101.   Furthermore, Defendants Bad Boy Records, Sean John Clothing LLC, and Universal Music

       Group Inc., enabled Defendant Combs’ commission of the crimes of violence motivated

       by gender, and thus, are liable under the NYC Victims of Gender-Motivated Protection

       Act.

102.   Defendants Bad Boy Records, Sean John Clothing LLC and Universal Music Group Inc.

       enabled or participated in the sexual abuse of Plaintiff because Defendants failed to, among

       other things, protect Plaintiff from a known danger; have sufficient policies and procedures

       in place to prevent sexual assault; properly implement policies and procedures to prevent

       sexual assault; take reasonable measures to ensure that policies to prevent sexual assault

       were working; train their employees on identifying sexual assault and inappropriate

       workplace behaviors; protect their employees from sexual assault; and adhere to the

       applicable standard of care.

103.   Defendants Bad Boy Records, Sean John Clothing LLC and Universal Music Group Inc.

       enabled or participated in the sexual abuse of Plaintiff because Defendants failed to timely

       and properly educate, train, supervise, and/or monitor their agents or employees regarding

       policies and procedures that should be followed when sexual abuse of a child is suspected

       or observed.

104.   Prior to Combs sexually assaulting Plaintiff, Bad Boy Records, Sean John Clothing LLC,



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       and Universal Music Group Inc. knew or should have known that Combs was not fit to be

       in a position of authority. Defendants, by and through their agents, servants and/or

       employees, became aware, or should have become aware of Combs’ propensity to commit

       sexual assault and of the risk to Plaintiff’s safety. At the very least, Defendants knew or

       should have known that they did not have sufficient information about whether or not their

       leaders, managers, and people were safe to be in positions of power.

105.   Defendants Bad Boy Records, Bad Boy Records, Sean John Clothing LLC and Universal

       Music Group Inc., and Universal Music Group Inc. knew or should have known that Combs

       posed a risk of sexual assault.

106.   Defendants Bad Boy Records, Sean John Clothing LLC and Universal Music Group Inc.,

       Universal Music Group Inc. failed to properly survive Combs and protect Plaintiff from a

       known danger, and thereby enabled Combs’ sexual assaults of Plaintiff.

107.   Defendants Bad Boy Records, Sean John Clothing LLC and Universal Music Group Inc.

       failed negligently deemed that Combs was fit to be in a position of authority; and/or that

       any previous suitability problems Combs had were fixed and cured; and/or that Combs

       would not commit acts of sexual assault; and/or that Combs would not injure others.

108.   Moreover, Defendants Bad Boy Records, Sean John Clothing LLC and Universal Music

       Group Inc. enabled the sexual abuse of Plaintiff by actively maintaining and employing

       Combs in a position of power and authority through which Combs had control over people,

       including Plaintiff.

109.   As a direct and proximate result of the aforementioned crime of violence and gender-

       motivated violence, Plaintiff has sustained and will continue to sustain, monetary damages,

       physical injury, pain and suffering, and serious psychological and emotional distress,



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       entitling her to an award of compensatory and punitive damages, injunctive and declaratory

       relief, attorneys fees and costs, and other remedies as this Court may deem appropriate

       damages, as set forth in § 10-1104.

                                           JURY DEMAND

110.   Plaintiff demands a trial by jury of all issues.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

A.     Declaring that Defendant Combs engaged in unlawful practices prohibited by the New

       York City Victims of Gender-Motivated Violence Protection Act, in that Combs drugged

       and sexually assaulted Plaintiff;

B.     Declaring that Defendants Bad Boy Records, Sean John Clothing LLC, and Universal

       Music Group Inc. engaged in unlawful practices prohibited by the New York City Victims

       of Gender-Motivated Violence Protection Act, in that they enabled Defendant Combs’

       commission of the crimes of violence motivated by gender;

C.     Awarding Plaintiff compensatory damages for mental, and emotional injury, distress, pain

       and suffering and injury to her reputation in an amount to be proven;

D.     Awarding Plaintiff damages for Defendants’ breach of contract;

E.     Awarding Plaintiff punitive damages;

F.     Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of the

       action; and

G.     Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

       proper to remedy Defendants’ unlawful practices.

Dated: New York, New York
       May 21, 2024
                                                             PHILLIPS & ASSOCIATES,
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                                            Attorneys at Law, PLLC


                                      By:   ___________________________
                                            Michelle A. Caiola, Esq.
                                            Jonathan Goldhirsch, Esq.
                                            Attorneys for Plaintiff
                                            45 Broadway, Suite 430
                                            New York, New York 10006
                                            T: (212) 248-7431
                                            F: (212) 901 - 2107
                                            mcaiola@tpglaws.com
                                            jgoldhirsch@tpglaws.com




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